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FILED
IN OPEN COURT
IN THE UNITED STATES DISTRICT COURT DEC - 8 2022
FOR THE EASTERN DISTRICT OF VIRGINIA
° vist .S. DISTRICT COURT
Norfolk Division CLERK, i neeal kVA

 

 

UNITED STATES OF AMERICA FILED UNDER SEAL

‘i CRIMINAL NO. 2:22cr (S |

DERRICK RAYMON SILVER, JR., 18 U.8.0.§.371

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) Straw-Purchase Conspiracy
) (Count 1)

Defendant. )
) 18 U.S.C. §§ 922(a)(6) & 924(a)(2)
) False Statement During Purchase of Firearm
) (Counts 2, 4, 6, 8, 10, 12, and 14)

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18 U.S.C. § 924(a)(1)(A)
False Statement Causing Federally Licensed
Firearms Dealer to Maintain False Records
(Counts 3, 5, 7, 9, 11, 13, and 15)
18 U.S.C. §§ 924(d),
28 U.S.C. § 2461
Criminal Forfeiture
INDICTMENT
December 2022 Term — at Norfolk, Virginia
THE GRAND JURY CHARGES THAT:

COUNT ONE
(Straw-Purchase Conspiracy)

From in or about January to April 2018, the exact dates to the Grand Jury being unknown,
in the Eastern District of Virginia and elsewhere, the defendant, DERRICK RAYMON SILVER,
JR., knowingly and willfully conspired and agreed with other persons, both known and unknown
to the grand jury, to commit offenses against the United States, that is, to acquire firearms through
the use of straw purchasers who knowingly provided false and misleading information, and made

false and fictitious oral and written statements to federally licensed firearms dealers, intended to
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deceive such dealers with respect to any fact material to the lawfulness of the sale of a firearm,
and who knowingly made false statements and representations with respect to information required
to be kept in the records of the firearms dealer, in violation of Title 18, United States Code,
Sections 922(a)(6) and 924(a)(1)(a).
OVERT ACTS
1. In furtherance of the conspiracy and to effect the objects of the conspiracy, the
following overt acts, among others, were committed in the Eastern District of Virginia:

a. On or about January 2, 2018, within the Eastern District of Virginia, SILVER straw
purchased a Taurus, Model PT111, 9mm semi-automatic pistol from CE Tactical, a
federally licensed firearms dealer.

b. On or about March 21, 2018, within the Eastern District of Virginia, SILVER straw
purchased two Taurus, Model PT111, 9mm semi-automatic pistols from CE Tactical, a
federally licensed firearms dealer.

c. From on or about March 21 to 22, 2018, within the Eastern District of Virginia,
SILVER straw purchased a Zastava, Model PAP M92 PV, 7.62x39 caliber AK-type pistol
from CE Tactical, a federally licensed firearms dealer.

d. On or about March 22, 2018, within the Eastern District of Virginia, SILVER straw
purchased a KelTec, Model PF9, 9mm semi-automatic pistol and a SCCY, Model CPX,
9mm semi-automatic pistol from CE Tactical, a federally licensed firearms dealer.

e. Onor about March 29, 2018, within the Eastern District of Virginia, SILVER straw
purchased a Zastava, Model PAP M92 PV, 7.62x39 caliber AK-type pistol from CE

Tactical, a federally licensed firearms dealer.
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f. On or about April 2, 2018, within the Eastern District of Virginia, SILVER straw
purchased two Taurus, Mode! PT111, 9mm semi-automatic pistols from CE Tactical, a
federally licensed firearms dealer.

g. On or about April 11, 2018, within the Eastern District of Virginia, SILVER straw
purchased a Ruger, Model EC9s, 9mm semi-automatic pistol, a Taurus, Model Spectrum,
.380 caliber semi-automatic pistol, and a Romarm, Model Draco, 7.62x39 AK-type pistol
from CE Tactical, a federally licensed firearms dealer.

(In violation of Title 18, United States Code, Sections 371 and 2.)

COUNT TWO
(False Statement During Purchase of Firearm)

On or about January 2, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,
the defendant, DERRICK RAYMON SILVER, JR., in connection with the acquisition of a Taurus,
Model PT111, 9mm semi-automatic pistol from CE Tactical, a licensed dealer of firearms within
the meaning of Chapter 44, Title 18, United States Code, knowingly made a false and fictitious
written statement that was intended and likely to deceive CE Tactical, as to a fact material to the
lawfulness of the sale of that firearm under Chapter 44, Title 18, in that SILVER did execute a
Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473, Firearms
Transaction Record, to the effect that SILVER was the actual buyer of the firearm indicated on the
form 4473, when in fact and as SILVER then knew, he was not the actual buyer of the firearm.

(In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).)

COUNT THREE
(False Statement Causing Federally Licensed Firearms Dealer to Maintain False Records)

On or about January 2, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,

the defendant, DERRICK RAYMON SILVER, JR., knowingly made a false statement and
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representation to CE Tactical, a licensed dealer of firearms within the meaning of Chapter 44, Title
18, United States Code, with respect to information required by the provisions of Chapter 44 of
Title 18, United States Code, to be kept in the records of CE Tactical, in that SILVER did execute
a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473,
Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearm
indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
of the firearm.
(In violation of Title 18, United States Code, Section 924(a)(1)(A).)

COUNT FOUR
(False Statement During Purchase of Firearm)

On or about March 21, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,
the defendant, DERRICK RAYMON SILVER, JR., in connection with the acquisition of two
Taurus, Model PT111, 9mm semi-automatic pistols from CE Tactical, a licensed dealer of firearms
within the meaning of Chapter 44, Title 18, United States Code, knowingly made a false and
fictitious written statement that was intended and likely to deceive CE Tactical, as to a fact material
to the lawfulness of the sale of those firearms under Chapter 44, Title 18, in that SILVER did
execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473,
Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearms
indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
of the firearms.

(In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).)

COUNT FIVE
(False Statement Causing Federally Licensed Firearms Dealer to Maintain False Records)

On or about March 21, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,
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the defendant, DERRICK RAYMON SILVER, JR., knowingly made a false statement and
representation to CE Tactical, a licensed dealer of firearms within the meaning of Chapter 44, Title
18, United States Code, with respect to information required by the provisions of Chapter 44 of
Title 18, United States Code, to be kept in the records of CE Tactical, in that SILVER did execute
a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473,
Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearms
indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
of the firearms.
(In violation of Title 18, United States Code, Section 924(a)(1)(A).)

COUNT SIX
(False Statement During Purchase of Firearm)

From on or about March 21 to 22, 2018, in Suffolk, Virginia, within the Eastern District of
Virginia, the defendant, DERRICK RAYMON SILVER, JR., in connection with the acquisition
of a Zastava, Model PAP M92 PV, 7.62x39 caliber AK-type pistol from CE Tactical, a licensed
dealer of firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly
made a false and fictitious written statement that was intended and likely to deceive CE Tactical,
as to a fact material to the lawfulness of the sale of that firearm under Chapter 44, Title 18, in that
SILVER did execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and
Explosives form 4473, Firearms Transaction Record, to the effect that SILVER was the actual
buyer of the firearm indicated on the form 4473, when in fact and as SILVER then knew, he was
not the actual buyer of the firearm.

(In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).)
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COUNT SEVEN
(False Statement Causing Federally Licensed Firearms Dealer to Maintain False Records)

From on or about March 21 to 22, 2018, in Suffolk, Virginia, within the Eastern District of
Virginia, the defendant, DERRICK RAYMON SILVER, JR., knowingly made a false statement
and representation to CE Tactical, a licensed dealer of firearms within the meaning of Chapter 44,
Title 18, United States Code, with respect to information required by the provisions of Chapter 44
of Title 18, United States Code, to be kept in the records of CE Tactical, in that SILVER did
execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473,
Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearm
indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
of the firearm.

(In violation of Title 18, United States Code, Section 924(a)(1)(A).)

COUNT EIGHT
(False Statement During Purchase of Firearm)

On or about March 22, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,
the defendant, DERRICK RAYMON SILVER, JR., in connection with the acquisition of a
KelTec, Model PF9, 9mm semi-automatic pistol and a SCCY, Model CPX, 9mm semi-automatic
pistol from CE Tactical, a licensed dealer of firearms within the meaning of Chapter 44, Title 18,
United States Code, knowingly made a false and fictitious written statement that was intended and
likely to deceive CE Tactical, as to a fact material to the lawfulness of the sale of those firearms
under Chapter 44, Title 18, in that SILVER did execute a Department of Justice, Bureau of
Alcohol, Tobacco, Firearms and Explosives form 4473, Firearms Transaction Record, to the effect
that SILVER was the actual buyer of the firearms indicated on the form 4473, when in fact and as

SILVER then knew, he was not the actual buyer of the firearms.
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(In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).)

COUNT NINE
(False Statement Causing Federally Licensed Firearms Dealer to Maintain False Records)

On or about March 22, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,
the defendant, DERRICK RAYMON SILVER, JR., knowingly made a false statement and
representation to CE Tactical, a licensed dealer of firearms within the meaning of Chapter 44, Title
18, United States Code, with respect to information required by the provisions of Chapter 44 of
Title 18, United States Code, to be kept in the records of CE Tactical, in that SILVER did execute
a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473,
Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearms
indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
of the firearms.

(In violation of Title 18, United States Code, Section 924(a)(1)(A).)

COUNT TEN
(False Statement During Purchase of Firearm)

On or about March 29, 2018,-in Suffolk, Virginia, within the Eastern District of Virginia,
the defendant, DERRICK RAYMON SILVER, JR., in connection with the acquisition of a
Zastava, Model PAP M92 PV, 7.62x39 caliber AK-type pistol from CE Tactical, a licensed dealer
of firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly made a
false and fictitious written statement that was intended and likely to deceive CE Tactical, as to a
fact material to the lawfulness of the sale of that firearm under Chapter 44, Title 18, in that SILVER
did execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form
4473, Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearm

indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
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of the firearm.
(In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).)

COUNT ELEVEN
(False Statement Causing Federally Licensed Firearms Dealer to Maintain False Records)

On or about March 29, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,
the defendant, DERRICK RAYMON SILVER, JR., knowingly made a false statement and
representation to CE Tactical, a licensed dealer of firearms within the meaning of Chapter 44, Title
18, United States Code, with respect to information required by the provisions of Chapter 44 of
Title 18, United States Code, to be kept in the records of CE Tactical, in that SILVER did execute
a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473,
Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearm
indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
of the firearm.

(In violation of Title 18, United States Code, Section 924(a)(1)(A).)

COUNT TWELVE
(False Statement During Purchase of Firearm)

On or about April 2, 2018, in Suffolk, Virginia, within the Eastern District of Virginia, the
defendant, DERRICK RAYMON SILVER, JR., in connection with the acquisition of two Taurus,
Model PT111, 9mm semi-automatic pistols from CE Tactical, a licensed dealer of firearms within
the meaning of Chapter 44, Title 18, United States Code, knowingly made a false and fictitious
written statement that was intended and likely to deceive CE Tactical, as to a fact material to the
lawfulness of the sale of those firearms under Chapter 44, Title 18, in that SILVER did execute a
Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473, Firearms

Transaction Record, to the effect that SILVER was the actual buyer of the firearms indicated on
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the form 4473, when in fact and as SILVER then knew, he was not the actual buyer of the firearms.
(In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).)

COUNT THIRTEEN
(False Statement Causing Federally Licensed Firearms Dealer to Maintain False Records)

On or about April 2, 2018, in Suffolk, Virginia, within the Eastern District of Virginia, the
defendant, DERRICK RAYMON SILVER, JR., knowingly made a false statement and
representation to CE Tactical, a licensed dealer of firearms within the meaning of Chapter 44, Title
18, United States Code, with respect to information required by the provisions of Chapter 44 of
Title 18, United States Code, to be kept in the records of CE Tactical, in that SILVER did execute
a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473,
Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearms
indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
of the firearms.

(In violation of Title 18, United States Code, Section 924(a)(1)(A).)

COUNT FOURTEEN
(False Statement During Purchase of Firearm)

On or about April 11, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,
the defendant, DERRICK RAYMON SILVER, JR., in connection with the acquisition of a Ruger,
Model EC9s, 9mm semi-automatic pistol; a Taurus, Model Spectrum, .380 caliber semi-automatic
pistol; and a Romarm, Model Draco, 7.62x39 AK-type pistol, from CE Tactical, a licensed dealer
of firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly made a
false and fictitious written statement that was intended and likely to deceive CE Tactical, as to a
fact material to the lawfulness of the sale of those firearms under Chapter 44, Title 18, in that

SILVER did execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and
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Explosives form 4473, Firearms Transaction Record, to the effect that SILVER was the actual
buyer of the firearms indicated on the form 4473, when in fact and as SILVER then knew, he was
not the actual buyer of the firearms.

(In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).)

COUNT FIFTEEN
(False Statement Causing Federally Licensed Firearms Dealer to Maintain False Records)

On or about April 11, 2018, in Suffolk, Virginia, within the Eastern District of Virginia,
the defendant, DERRICK RAYMON SILVER, JR., knowingly made a false statement and
representation to CE Tactical, a licensed dealer of firearms within the meaning of Chapter 44, Title
18, United States Code, with respect to information required by the provisions of Chapter 44 of
Title 18, United States Code, to be kept in the records of CE Tactical, in that SILVER did execute
a Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives form 4473,
Firearms Transaction Record, to the effect that SILVER was the actual buyer of the firearms
indicated on the form 4473, when in fact and as SILVER then knew, he was not the actual buyer
of the firearms.

(In violation of Title 18, United States Code, Section 924(a)(1)(A).)

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CRIMINAL FORFEITURE
THE GRAND JURY FURTHER FINDS PROBABLE CAUSE THAT:

1. The defendant, if convicted of any of the violations alleged in this Indictment, shall forfeit
to the United States, as part of the sentencing pursuant to Federal Rule of Criminal Procedure 32.2,
any firearm or ammunition involved in or used in the violation.

2. If any property that is subject to forfeiture above is not available, it is the intention of the
United States to seek an order forfeiting substitute assets pursuant to Title 21, United States Code,
Section 853(p) and Federal Rule of Criminal Procedure 32.2(e).

3. The property subject to forfeiture includes, but is not limited to, the following:

a. One Taurus, Model PT111, 9mm semi-automatic pistol and any related magazines and
ammunition;

b. Asecond Taurus, Model PT111, 9mm semi-automatic pistol and any related magazines
and ammunition;

c. A third Taurus, Model PT111, 9mm semi-automatic pistol and any related magazines
and ammunition;

d. A fourth Taurus, Model PT111, 9mm semi-automatic pistol and any related magazines
and ammunition;

e. A fifth Taurus, Model PT111, 9mm semi-automatic pistol and any related magazines
and ammunition;

f. One Taurus, Model Spectrum, .380 caliber semi-automatic pistol and any related
magazines and ammunition;

g. One Zastava, Model PAP M92 PV, 7.62x39 caliber AK-type pistol and any related
magazines and ammunition;

h. A-second Zastava, Model PAP M92 PV, 7.62x39 caliber AK-type pistol and any related
magazines and ammunition;

i. One KelTec, Model PF9, 9mm semi-automatic pistol and any related magazines and
ammunition;

j. One SCCY, Model CPX, 9mm semi-automatic pistol and any related magazines and
ammunition;

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k. One Ruger, Model EC9s, 9mm semi-automatic pistol and any related magazines and
ammunition; and

1. One Romarm, Model Draco, 7.62x39 AK-type pistol and any related magazines and
ammunition.

(In accordance with Title 18, United States Code, Section 924(d); and Title 28, United States
Code, Section 2461.)

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Pursuant to the E-Government Act,

United States v. Derick Raymon Silver, Jr., 2:22CR Ss | the original of this page has been fi led
under seal in the Clerk's Office.

A TRUE BILL:
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